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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JOHN McCRAY, Sr.,

Defendant.                                               No. 05-CR-30027-DRH

                                     ORDER

HERNDON, District Judge:

             Now before the Court is McCray, Sr.’s motion for expedited sentencing

(Doc. 223). Said motion is GRANTED. The Court SETS this matter for sentencing

on Tuesday, March 6, 2007 at 9:30 a.m.

             IT IS SO ORDERED.

             Signed this 2nd day of March, 2007.

                                                   /s/      David RHerndon

                                                   United States District Judge
